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                                IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF KANSAS

  EQUAL EMPLOYMENT                                       )
  OPPORTUNITY COMMISSION,                                )
                                                         )
                         Plaintiff,                      )
                                                         )
  v.                                                     )        Case No. 2:19-cv-02540-DDC-TJJ
                                                         )
  UNIVERSITY OF KANSAS,                                  )
                                                         )
                         Defendant.                      )

                     DEFENDANT’S UNOPPOSED MOTION FOR EXTENSION OF TIME
                                       TO FILE ANSWER

                Defendant University of Kansas, with the agreement of Plaintiff, hereby moves this Court

for an extension of forty-five (45) days, to December 20, 2019, in which to file its Answer to the

Complaint. In support of the motion, and pursuant to Local Rule 6.1(a), Defendant states the

following:

                1.      Defendant’s Answer is currently due November 5, 2019, and the same has not

expired.

                2.      No previous extensions have been requested for Defendant’s Answer.

                3.      Counsel for Defendant has consulted with counsel for Plaintiff, and Plaintiff does

not oppose the requested extension of time.

                4.      The extension is needed, as the parties are currently engaged in efforts at early

resolution of this matter. The requested extension would allow the parties to further those efforts

or allow Defendant the necessary time to prepare its Answer in the event the efforts fail.

                5.      The request is not made for purpose of delay, and no party will be prejudiced by

the requested extension.




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                WHEREFORE, Defendant respectfully requests the Court grant an extension of forty-five

(45) days to December 20, 2019, for Defendant to file its Answer to the Complaint.

                                                          Respectfully submitted,

                                                          /s/ Eric J. Aufdengarten
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                                                          Counsel for Defendant University of Kansas


                                        CERTIFICATE OF SERVICE

       The undersigned counsel certifies that a true and correct copy of the above and foregoing
was filed with the Court’s CM/ECF filing system on the 1st day of November, 2019, which
generated a Notice of Electronic Filing to the following counsel of record:

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                Counsel for Plaintiff

                                                          /s / Eric J. Aufdengarten
                                                          Eric J. Aufdengarten
                                                          Counsel for Defendant




{L0071098.1 }

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